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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

GODO KAISHA IP BRIDGE 1,                        §
                                                §
       Plaintiff,                               §
                                                §
                                                             Case No. 2:21-CV-213-JRG
       v.                                       §
                                                                    (Lead Case)
                                                §
TELEFONAKTIEBOLAGET LM                          §
                                                            JURY TRIAL DEMANDED
ERICSSON and ERICSSON INC.,                     §
                                                §
       Defendants.                              §
                                                §
GODO KAISHA IP BRIDGE 1,                        §
                                                §
       Plaintiff,                               §
                                                §
       v.                                       §            Case No. 2:21-CV-215-JRG
                                                §                  (Member Case)
NOKIA CORPORATION, NOKIA                        §
SOLUTIONS AND NETWORKS OY, and                  §           JURY TRIAL DEMANDED
NOKIA OF AMERICA CORPORATION,                   §
                                                §
       Defendants.                              §
                                                §

                        JOINT MOTION TO EXTEND STAY AND
                      DEADLINE FOR FILING DISMISSAL PAPERS

       Plaintiff Godo Kaisha IP Bridge 1 (“IP Bridge” or “Plaintiff”) and Defendants Nokia

Solutions and Networks Oy and Nokia of America Corporation (collectively, “Nokia”) jointly

request a brief extension of the stay and deadline for filing dismissal papers entered by the Court

on November 10, 2022 (Dkt. No. 270). IP Bridge and Nokia are continuing to finalize the terms

of a long-form agreement but have experienced delays through no fault of either party. IP Bridge

and Nokia thus request a further 30-day extension of the stay and corresponding deadline for filing

dismissal papers.
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Dated: January 9, 2023                 Respectfully submitted,

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 Dated: January 9, 2023                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on January 9, 2023, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                   /s/ Melissa R. Smith
                                                   Melissa R. Smith



                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that pursuant to Local Rule CV-7(h), counsel for IP

Bridge met and conferred with Defendants and the motion is unopposed.


                                                   /s/ Melissa R. Smith
                                                   Melissa R. Smith




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